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          ** UNITED STATES DISTRICT COURT CRIMINAL MINUTES **
Date: 03/25/2022                                           Before the Honorable: T.S. ELLIS, III

Time: 11:35 a.m. – 12:25 p.m. (00:50)                      Case No.: 1:20-cr-00239-TSE-2

Official Court Reporter: Rebecca Stonestreet

Courtroom Deputy: Tanya Randall
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UNITED STATES OF AMERICA
v.

EL SHAFEE ELSHEIKH                                                X Present

  Counsel for Government                     Counsel for Defendant                   Arabic Interpreter
  Raj Parekh                                 Nina Ginsberg                           Ghada Attieh (Standby Only)
  Alicia Cook                                Ed MacMahon
  Aidan Grano-Mickelsen                      Yancy Ellis
  John Gibbs                                 Zachary Deubler
  Dennis Fitzpatrick
  Nicole Lopez

Appearances of Counsel for ( X ) Govt         ( X ) Deft

Re:       PRETRIAL CONFERENCE

      •   Preliminary matters on voir dire and jury trial procedures discussed.

      •   Jury Trial set to begin on Tuesday, March 29, 2022 at 9:00 a.m.




Deft is:
[ X ] Remanded [        ] Self Surrender [    ] Cont’d on same terms and conditions of release     [   ] Custody
